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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

                                               CASE No.: 6:23-cv-02299-ACC-DCI
 MICHAEL R. MCNEIL,

          Plaintiff,
 vs.

 T&M HEATH PROPERTY
 MANAGEMENT, LLC et al.,

      Defendants.
 ________________________________/

                           NOTICE OF SETTLEMENT

          Plaintiff MICHAEL R. MCNEIL, by and through his undersigned counsel,

 hereby files this Notice of Settlement, to advise the Court that Plaintiff has reached

 settlement of the claims in the above-styled action as to Defendants, T&M HEATH

 PROPERTY MANAGEMENT, LLC, and NUTRICOST, LLC, d/b/a HEATH'S

 NATURAL FOODS. The Parties are in the process of finalizing formal settlement.

 Respectfully submitted this 30th day of December 2023.

       By: /s/Joe M. Quick, Esq.
          Joe M. Quick, Esq.
          Florida Bar No.: 0883794
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                          CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of December 2023, I electronically filed
 the foregoing with the Clerk of Court by using the CM/ECF system. I also certify
 that the aforementioned document is being served on all counsel of record,
 corporation, or pro se parties via transmission of Notices of Electronic Filing
 generated by CM/ECF or in some other authorized manner for those counsel or
 parties who are not authorized to receive electronically Notices of Filing.

 By: /s/Joe M. Quick, Esq.
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